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Attorneys for Defendant
                          UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW JERSEY


BETSY FRESSE,                                      Civil Action No. 2:20-cv-16567-MCA-LDW

                      Plaintiff,                            STIPULATION AND ORDER
                                                            EXTENDING DEFENDANT’S
vs.                                                        TIME TO ANSWER, MOVE OR
                                                            OTHERWISE RESPOND TO
STARBUCKS CORPORATION d/b/a,                                      COMPLAINT
STARBUCKS COFFEE COMPANY

                      Defendant.                                 Electronically Filed


         IT IS HEREBY STIPULATED AND AGREED, by and between the undersigned

attorneys for the parties hereto that the time for Defendant Starbucks Corporation d/b/a Starbucks

Coffee Company (“Defendant”) to answer, move or otherwise respond to Plaintiff’s Complaint

herein is hereby extended from December 24, 2020, up to and including January 22, 2021. No

previous request for an extension of time has been made.

Dated: December 23, 2020

 RUTA, SOULIOS & STRATIS, ESQ.                  LITTLER MENDELSON, P.C.
 Attorneys for Plaintiff                        Attorneys for Defendant


 By: /s/ Demetrios K. Stratis                   By: /s/ Rachel Seaton Brownell

 Demetrios K. Stratis, Esq.                     Rachel Seaton Brownell, Esq.
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SO ORDERED:

______________________________________              Dated: _____________________, 2020
Hon. Leda D. Wettre, U.S.M.J.
4814-4405-2693.1
